                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR09-4018-MWB
 vs.
                                                       ORDER REGARDING
 LOUISA CAZAREZ FRAZIER,
                                                     DEFENDANT’S MOTION TO
               Defendant.                               REDUCE SENTENCE

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       This matter is before the court pursuant to the defendant’s motion to reduce sentence
under 18 U.S.C. § 3582(c)(2) (docket no. 330). In relevant part, 18 U.S.C. § 3582(c)
provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”). Additionally, U.S.S.G. § §1B1.10 states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an
              amendment to the Guidelines Manual listed in subsection (c)


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             below, the court may reduce the defendant’s term of
             imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
             required by 18 U.S.C. § 3582(c)(2), any such reduction in the
             defendant’s term of imprisonment shall be consistent with this
             policy statement.
U.S.S.G. § §1B1.10(a)(1); see also U.S.S.G. § §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”).
      The defendant pleaded guilty to conspiracy to distribute 500 grams or more of
methamphetamine. Moreover, the defendant does not identify an amendment that is listed
in U.S.S.G. § §1B1.10(c). To the extent the defendant believes Amendment 740 applies
to him, it is not included in U.S.S.G. § §1B1.10(c). Thus, a reduction under 18 U.S.C.
§ 3582(c)(2) and U.S.S.G. § §1B1.10 is not warranted. Accordingly, the defendant’s
motion to reduce sentence is denied.
      IT IS SO ORDERED.
      DATED this 11th day of February, 2013.


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                                                MARK W. BENNETT
                                                U. S. DISTRICT COURT JUDGE
                                                NORTHERN DISTRICT OF IOWA




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